     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 1 of 14


 1 ROBERT H. BUNZEL (SBN 99395)                         PATRICK N. KEEGAN (SBN 167698)
    rbunzel@bzbm.com                                     pkeegan@keeganbaker.com
 2 MICHAEL D. ABRAHAM (SBN 125633)                      KEEGAN & BAKER, LLP
    mabraham@bzbm.com                                   2292 Faraday Avenue, Suite 100
 3 JAYNE LAIPRASERT (SBN 256930)                        Carlsbad, CA 92008
    jlaiprasert@bzbm.com                                Telephone: (760) 929-9303
 4 BARTKO ZANKEL BUNZEL & MILLER                        Facsimile: (760) 929-9260
   A Professional Law Corporation
 5 One Embarcadero Center, Suite 800                    Attorney for Plaintiff
   San Francisco, California 94111                      JOHN DOE
 6 Telephone: (415) 956-1900
   Facsimile: (415) 956-1152                            ABBAS KAZEROUNIAN (SBN 249203)
 7                                                       ak@kazlg.com
   Attorneys for Defendant                              MONA AMINI (SBN 296829)
 8 A.J. BOGGS & COMPANY                                  mona@kazlg.com
                                                        KAZEROUNI LAW GROUP, APC
 9                                                      245 Fischer Avenue, Unit D1
                                                        Costa Mesa, California 92626
10                                                      Telephone: (800) 400-6808
                                                        Facsimile: (800) 520-5523
11
                                                        Attorneys for Plaintiffs
12                                                      JOHN DOE 1, JOHN DOE 2, and JOHN DOE 3

13

14                                 UNITED STATES DISTRICT COURT

15                        EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION

16

17 JOHN DOE, individually and on behalf of all          Case No. 1:18-CV-01464 AWI-BAM
   others similarly situated,                           (Consolidated with former Case No. 1:19-CV-
18                                                      00061-AWI-BAM)
                  Plaintiffs,
19                                                      STIPULATION AND STANDARD
           v.                                           PROTECTIVE ORDER
20
   A.J. BOGGS & COMPANY; and DOES 1-100,
21
                  Defendants.
22

23

24             WHEREAS, the Court’s Order Partially Granting Defendant’s Motion For Protective Order,
25 dated April 5, 2019 (Dkt. No. 31), at Paragraph 6 states: “The Court contemplates that the parties

26 will submit for consideration and potential entry a standard protective order addressing
27 confidentiality with regard to other discovery that is not covered by this [April 5, 2019] Order” (Dkt.

28 No. 31, ¶6, 12:9-11); and

     2655.000/1397878.2                            1              Case No. 1:18-CV-01464 AWI BAM
                               STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 2 of 14


 1             WHEREAS, each of the named John Doe plaintiffs and defendant A.J. Boggs & Company

 2 (“Defendant”) (collectively hereafter “Parties” or individually “Party”) in the consolidated action

 3 pending in the United States District Court, Eastern District of California, Fresno Division, entitled

 4 John Doe, individually and on behalf of all others similarly situated, v. A.J. Boggs & Company,

 5 Case No. 1:18-CV-01464-AWI-BAM (“the Litigation”), desire to have a protective order entered

 6 that addresses confidentiality protection for information not covered in the Court’s April 5, 2019

 7 Order (hereinafter the “Standard Protective Order”);

 8             WHEREAS, the Parties have entered into a Stipulation for Standard Protective Order,

 9 subject to the condition precedent of the Court entering the proposed Standard Protective Order, and

10 GOOD CAUSE appearing therefore, the Court HEREBY ORDERS AS FOLLOWS:

11 I.          GENERAL PROVISIONS

12             1.         Nothing in this Standard Protective Order addresses, modifies or waives (i) the

13 Court’s April 5, 2019 Order Partially Granting Defendant’s Motion For Protective Order (Dkt. No.

14 31), and/or (ii) the separately proposed “Protective Order Regarding Health And Safety Code

15 §§ 121025(D) And 121026(D) And Each “Named” John Doe Plaintiffs’ Partial Implied Waiver.”

16             2.         Disclosure and discovery activity in this action are likely to involve production of

17 confidential, proprietary, or private information for which special protection from public disclosure

18 and from use for any purpose other than prosecuting this litigation may be warranted. Accordingly,

19 the Parties hereby stipulate to and petition the court to enter the following Stipulated Protective

20 Order. The Parties acknowledge that this Order does not confer blanket protections on all disclosures

21 or responses to discovery and that the protection it affords from public disclosure and use extends

22 only to the limited information or items that are entitled to confidential treatment under the

23 applicable legal principles. The Parties further acknowledge, as set forth in Section 12.3, below, that

24 this Stipulated Protective Order does not entitle the Parties to file confidential information under

25 seal. Instead, Local Rule 141 (Fed. R. Civ. P. 5.2, 26) sets forth the procedures that must be followed

26 and the standards that will be applied when a Party seeks permission from the Court to file material
27 under seal.

28             3.         All Parties will, in good faith, abide by the terms of this Standard Protective Order.

     2655.000/1397878.2                                2              Case No. 1:18-CV-01464 AWI BAM
                                   STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 3 of 14


 1             4.         This Standard Protective Order is intended to be consistent and co-extensive with,

 2 and no more or less stringent than, the governing California and federal laws and regulations.

 3 II.         SCOPE OF STANDARD PROTECTIVE ORDER

 4             1.         The protection of this Standard Protective Order may be invoked with respect to all

 5 items or information, regardless of the medium or manner in which it is generated, stored, or

 6 maintained (including, among other things, testimony, transcripts, and tangible things), that are

 7 produced or generated in disclosures or responses to discovery in this matter (collectively

 8 “Discovery Materials”) produced or created in this Litigation that contain Confidential Information.

 9 The protections conferred by this Stipulation and Order cover not only Protected Material (as

10 defined below), but also (1) any information copied or extracted from Protected Material; (2) all

11 copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

12 conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

13 However, the protections conferred by this Stipulation and Order do not cover the following

14 information: (a) any information that is in the public domain at the time of disclosure to a receiving

15 Party or becomes part of the public domain after its disclosure to a receiving Party as a result of

16 publication not involving a violation of this Order, including becoming part of the public record

17 through trial or otherwise; and (b) any information known to the receiving Party prior to the

18 disclosure or obtained by the receiving Party after the disclosure from a source who obtained the

19 information lawfully and under no obligation of confidentiality to the designating Party.

20             2.         “Confidential Information” means information (regardless of how it is generated,

21 stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil

22 Procedure 26(c).

23             3.         “Highly Confidential Information – Attorneys’ Eyes Only” means information

24 (regardless of how it is generated, stored or maintained) or tangible things that contain highly

25 sensitive, confidential, proprietary and/or trade secret information, including, but not limited to

26 information protected by constitutional, statutory and/or common law right to privacy, disclosure of
27 which to another Party or Non-Party would create a substantial risk of serious harm that could not

28 be avoided by less restrictive means.

     2655.000/1397878.2                               3              Case No. 1:18-CV-01464 AWI BAM
                                  STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 4 of 14


 1             4.         Discovery Materials containing Confidential Information, or Highly Confidential

 2 Information – Attorneys’ Eyes Only, may be respectively designated as “Confidential” or “Highly

 3 Confidential Information – AEO.” Protected Material means any Discovery Material that is

 4 designated as either “Confidential Information” or “Highly Confidential Information – AEO.”

 5 Designating Party means a Party or Non-Party that designates information or items as Protected

 6 Material. Producing Party means a Party or Non-Party that produces Discovery Material in this

 7 action. Receiving Party means a Party that receives Discovery Material from a Producing Party.

 8 III.        DESIGNATION OF MATERIALS AS “CONFIDENTIAL” OR “HIGHLY
               CONFIDENTIAL – AEO”
 9

10             1.         Each Party or Non-Party that designates information or items for protection under

11 this Order shall take care to limit any such designation to specific material that qualifies under the

12 appropriate standards. The Designating Party shall designate for protection only those parts of

13 material, documents, items, or oral or written communications that qualify. If it comes to a

14 Designating Party’s attention that information or items that it designated for protection do not

15 qualify for protection, that Designating Party shall promptly notify all other Parties that it is

16 withdrawing the mistaken designation.

17             2.         In making the designation of materials pursuant to this Order, the Producing Party or

18 Designating Party shall give due consideration to whether the information contained in the materials

19 (1) has been produced, disclosed or made available to the public in the past, (2) has been published,

20 communicated or disseminated to others not obligated to maintain the confidentiality of the

21 information contained therein, (3) has not been preserved or maintained in a manner calculated to

22 preserve its confidentiality, or (4) is available from a third party or commercial source that is not

23 obligated to maintain its confidentiality or privacy.

24             3.         The protection of this Standard Protective Order may be invoked with respect to

25 materials in the following manner:

26                        (i)   Documents when produced or otherwise designated shall bear
                                the clear and legible legend “Confidential” or “Highly
27                              Confidential-AEO” on each page that contains Protected
                                Material. If only a portion or portions of the material on a page
28                              qualifies for protection, the Producing Party or Designating

     2655.000/1397878.2                                4              Case No. 1:18-CV-01464 AWI BAM
                                   STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 5 of 14


 1                              Party also must clearly identify the protected portion(s) (e.g., by
                                making appropriate markings in the margins or by a watermark).
 2                        (ii) As to discovery requests or the responses thereto, the pages of
                                those requests or responses containing “Confidential” or “Highly
 3                              Confidential-AEO” materials shall be so marked with the clear
                                and legible legend, and the first page of the requests or responses
 4                              shall bear a legend substantially stating that “This Document
                                Contains ‘Confidential’ or ‘Highly Confidential-AEO’
 5                              Material.” . If only a portion or portions of a request or a
                                response qualifies for protection, the Producing Party or
 6                              Designating Party also must clearly identify the protected
                                portion(s) (e.g., by making appropriate markings in the margins
 7                              or by a watermark).
                          (iii) As to deposition testimony, “Confidential” or “Highly
 8                              Confidential-AEO” treatment may be invoked by: (1) declaring
                                the same on the record at the deposition with instructions to so
 9                              designate on the cover of the deposition transcript, or
                                (2) designating specific pages as “Confidential” or “Highly
10                              Confidential-AEO” and serving that designations within thirty
                                (30) days of receipt of the transcript of the deposition in which
11                              the designations are made. All deposition testimony shall be
                                treated as “Highly Confidential-AEO” pending receipt of a
12                              transcript of the deposition.

13             4.         If any Producing Party inadvertently produces or discloses any “Confidential” or

14 “Highly Confidential-AEO” without marking it with an appropriate legend, the Producing Party or

15 Designating Party shall promptly notify the Receiving Party that the information should be treated

16 in accordance with the terms of this Standard Protective Order, and shall forward appropriately

17 stamped copies of the items in question. Within five (5) court days of the receipt of substitute copies,

18 the Receiving Party shall return the previously unmarked items and all copies thereof. The

19 inadvertent failure to designate qualified information or items does not, standing alone, waive the

20 Designating Party’s right to secure protection under this Order for such material. The designation

21 shall be timely made as soon as possible after the discovery of the inadvertent production or

22 disclosure.

23 IV.         CHALLENGES TO “CONFIDENTIAL” OR “HIGHLY CONFIDENTIAL-AEO”
               DESIGNATION
24

25             1.         Any Party or Non-Party may challenge a designation of confidentiality at any time.

26 Any Party believing materials designated as “Confidential” or “Highly Confidential-AEO” by
27 another is not entitled to that designation shall notify the Producing Party or Designating Party of

28

     2655.000/1397878.2                                5              Case No. 1:18-CV-01464 AWI BAM
                                   STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 6 of 14


 1 that belief in writing, provide a brief statement of the basis for that belief with service on all other

 2 Parties, and allow ten (10) days for the Producing Party or Designating Party to respond.

 3             2.         If a Producing Party or Designating Party does not modify its designation of the

 4 materials in response to a notice pursuant to paragraph IV.1. of this Standard Protective Order, then

 5 the Party challenging the “Confidential” or “Highly Confidential-AEO” designation may move the

 6 Court for an order modifying or removing the designation. To maintain “Confidential” status, the

 7 burden shall be on the proponent of confidentiality to show that the material or information is

 8 entitled to protection under applicable law.              Unless and until a “Confidential” or “Highly

 9 Confidential-AEO” designation is voluntarily withdrawn by the Producing Party or Designating

10 Party, or the Court issues an order modifying or removing the designation, all Parties shall continue

11 to maintain the level of protection which the material at issue is entitled under the Producing Party’s

12 or Designating Party’s designation until the Court rules on the challenge.

13 V.          DISCLOSURE OF MATERIALS DESIGNATED AS CONFIDENTIAL

14             1.         Discovery Materials designated “Confidential,” as well as summaries, excerpts and

15 extracts thereof, shall not be disclosed to or made accessible to any person except as specifically

16 permitted by this Standard Protective Order. Discovery Materials designated “Confidential” shall

17 be used solely in the preparation for motion practice, resolution and/or trial of the Litigation, and

18 shall not be used at any time for any other purpose. All materials designated as “Confidential” shall

19 remain in the possession of the counsel of record of the Party to whom these materials are produced,

20 and they shall not permit any of the materials to leave their possession, except that copies of these

21 materials may be made for the use of persons to whom disclosure may be made under this Standard

22 Protective Order, or for the purpose of submission to the Court under the terms of this Standard

23 Protective Order.

24             2.         Unless otherwise ordered by the Court or permitted in writing by the Designating

25 Party, Discovery Materials designated as “Confidential” may be disclosed only to:

26                        (i)    The Court, its clerks and research attorneys;
27                        (ii)   Attorneys actively involved in the representation of a Party,
                                 their secretaries, paralegals, legal assistants, and other staff
28                               actively involved in assisting in the Litigation;

     2655.000/1397878.2                               6              Case No. 1:18-CV-01464 AWI BAM
                                  STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 7 of 14


 1                        (iii)    the officers, directors, and employees (including In-house
                                   attorneys) employed by any Party and working on the
 2                                 Litigation, and their secretaries, paralegals, legal assistants,
                                   and other staff actively involved in assisting in the Litigation
 3                                 and who have completed and signed the “Acknowledgment
                                   and Agreement to Be Bound” (Exhibit A);
 4
                          (iv)     The named John Doe Plaintiffs, provided that the materials
 5                                 designated “Confidential” may be disclosed to named John
                                   Doe Plaintiffs only to the extent the disclosure is, in the
 6                                 judgment of counsel, reasonably necessary to counsel’s
                                   preparation of the case and who have completed and signed
 7                                 the “Acknowledgment and Agreement to Be Bound” (Exhibit
                                   A);
 8
                          (v)      Any expert or consultant who is retained by any of the Parties
 9                                 or their counsel of record to assist counsel in the Litigation,
                                   and any employee of that an expert assisting in the Litigation
10                                 (hereafter, “Experts”) only to the extent the disclosure is, in
                                   the judgment of counsel, reasonably necessary to counsel’s
11                                 preparation of the case, and who have completed and signed
                                   the “Acknowledgment and Agreement to Be Bound” (Exhibit
12                                 A);

13                        (vi)     Any person called to testify as a witness either at a deposition
                                   or court proceeding in the Litigation, but only to the extent
14                                 necessary for the purpose of assisting in the preparation or
                                   examination of the witness, and also only if the persons are
15                                 informed of the terms of this Standard Protective Order,
                                   provided with a copy of the Standard Protective Order and
16                                 agree, on the record, that they are bound by the terms of the
                                   Standard Protective Order and are required not to disclose
17                                 information contained in the materials designated as
                                   “Confidential”;
18
                          (vii)    Deposition and court reporters and their support personnel, for
19                                 purposes of preparing transcripts;

20                        (viii)   Employees of outside copying services and other vendors
                                   retained by counsel to assist in the copying, imaging, handling
21                                 or computerization of documents, but only to the extent
                                   necessary to provide those services in connection with the
22                                 Litigation and only after being informed of the provisions of
                                   this Standard Protective Order and agreeing to abide by its
23                                 terms;

24                        (ix)     Mediators or other Alternative Dispute Resolution neutrals
                                   (including their employees, agents and contractors) to whom
25                                 disclosure is reasonably necessary to their involvement in the
                                   Litigation; and
26
                          (x)      Any person who created a document or was the recipient
27                                 thereof.

28

     2655.000/1397878.2                                 7              Case No. 1:18-CV-01464 AWI BAM
                                    STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 8 of 14


 1             3.         Each person to whom “Confidential” materials are permitted to be disclosed pursuant

 2 to Section V.(2)(iii) and (v) shall complete and execute a non-disclosure agreement in the form

 3 attached hereto as Exhibit A prior to their receipt of the Confidential materials, and shall agree to

 4 be bound by this Standard Protective Order and to be subject to the jurisdiction of this Court for the

 5 purposes of enforcement, except that individuals identified in paragraphs V.(2)(ii) shall not be

 6 required to execute the agreement, provided that counsel making disclosure to those individuals

 7 advise them of the terms of the Standard Protective Order and they agree to be bound thereby.

 8 Counsel for a Party or Non-Party disclosing “Confidential” materials to persons required to execute

 9 non-disclosure agreements shall retain all of the executed agreements. Copies of the executed

10 agreements shall be preserved by counsel and shall be provided to the opposing Party or Non-Party

11 if the Court so orders upon a showing of good cause.

12 VI.         DISCLOSURE OF MATERIALS DESIGNATED AS HIGHLY
               CONFIDENTIAL-AEO
13

14             1.         Discovery Materials designated “Highly Confidential-AEO” as well as summaries,

15 excerpts and extracts thereof, shall not be disclosed to or made accessible to any person except as

16 specifically permitted by this Standard Protective Order. Discovery Materials designated “Highly

17 Confidential-AEO” shall be used solely in the preparation for motion practice, resolution and/or

18 trial of the Litigation, and shall not be used at any time for any other purpose. All materials

19 designated as “Highly Confidential-AEO” shall remain in the possession of the counsel of record of

20 the Party to whom these materials are produced, and they shall not permit any of the materials to

21 leave their possession, except that copies of these materials may be made for the use of persons to

22 whom disclosure may be made under this Standard Protective Order, or for the purpose of

23 submission to the Court under the terms of this Standard Protective Order.

24             2.         Unless otherwise ordered by the Court or permitted in writing by the Designating

25 Party, Discovery Materials designated as “Highly Confidential-AEO” may be disclosed only to:

26                        (i)    The court, its clerks and research attorneys;
27                        (ii)   Attorneys actively involved in the representation of a Party,
                                 their secretaries, paralegals, legal assistants, and other staff
28                               actively involved in assisting in the Litigation;

     2655.000/1397878.2                               8              Case No. 1:18-CV-01464 AWI BAM
                                  STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 9 of 14


 1                        (iii)    In-house attorneys employed by any Party and working on the
                                   Litigation, and their secretaries, paralegals, legal assistants,
 2                                 and other staff actively involved in assisting in the Litigation
                                   and who have completed and signed the “Acknowledgment
 3                                 and Agreement to Be Bound” (Exhibit A);

 4                        (iv)     Any expert or consultant who is retained by any of the Parties
                                   or their counsel of record to assist counsel in the Litigation,
 5                                 and any employee of an expert assisting in the Litigation
                                   (hereafter, “Experts”) only to the extent the disclosure is, in
 6                                 the judgment of counsel, reasonably necessary to counsel’s
                                   preparation of the case, and who have completed and signed
 7                                 the “Acknowledgment and Agreement to Be Bound” (Exhibit
                                   A);
 8
                          (v)      Any person called to testify as a witness either at a deposition
 9                                 or court proceeding in the Litigation, but only to the extent
                                   necessary for the purpose of assisting in the preparation or
10                                 examination of the witness, and also only if the persons are
                                   informed of the terms of this Standard Protective Order,
11                                 provided with a copy of the Standard Protective Order and
                                   agree, on the record, that they are bound by the terms of the
12                                 Standard Protective Order and are required not to disclose
                                   information contained in the materials designated as
13                                 “Confidential”;

14                        (vi)     Deposition and court reporters and their support personnel, for
                                   purposes of preparing transcripts;
15
                          (vii)    Mediators or other Alternative Dispute Resolution neutrals
16                                 (including their employees, agents and contractors) to whom
                                   disclosure is reasonably necessary to their involvement in the
17                                 Litigation; and

18                        (viii)   Any person who created a document or was the recipient
                                   thereof.
19

20             3.         Each person to whom “Highly Confidential-AEO” are permitted to be disclosed

21 pursuant to Section V.(2)(iii) and (iv) shall complete and execute a non-disclosure agreement in the

22 form attached hereto as Exhibit A prior to their receipt of the Highly Confidential-AEO materials,

23 and shall agree to be bound by this Standard Protective Order and to be subject to the jurisdiction

24 of this court for the purposes of enforcement, except that individuals identified in

25 paragraphs VI.(2)(ii) shall not be required to execute the agreement, provided that counsel making

26 disclosure to those individuals advise them of the terms of the Standard Protective Order and they
27 agree to be bound thereby. Counsel for a Party or Non-Party disclosing “Highly Confidential-AEO”

28 materials to persons required to execute non-disclosure agreements shall retain all of the executed

     2655.000/1397878.2                                 9              Case No. 1:18-CV-01464 AWI BAM
                                    STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 10 of 14


 1 agreements. Copies of the executed agreements shall be preserved by counsel and shall be provided

 2 to the opposing Party or Non-Party if the Court so orders upon a showing of good cause.

 3 VII.        USE IN COURT PROCEEDINGS - FILING OF COURT PAPERS

 4             1.         No Party waives any right it otherwise would have to discover or object to disclosing

 5 or producing any document or information on any ground not addressed in this Protective Order,

 6 the Court’s April 5, 2019 Order Partially Granting Defendant’s Motion For Protective Order (Dkt.

 7 No. 31), and/or (ii) the separately proposed Protective Order re: H&S Code §§ 121025(d) and

 8 121026(d). Similarly, no Party waives any right to object on any ground to use of any of the material

 9 covered by this Protective Order as evidence in the Litigation.

10             2.         A Party or Non-Party that seeks to file any materials designated as “Confidential” or

11 “Highly Confidential-AEO” pursuant to this Standard Protective Order to the Court in the Litigation

12 must comply with Local Rule 141 (Fed. R. Civ. P. 5.2, 26) for the United States District Court for

13 the Eastern District of California.

14 VIII. MISCELLANEOUS PROVISIONS

15             1.         Further Relief: Nothing in this Standard Protective Order shall limit or preclude any

16 Party or Non-Party from seeking further relief or protective orders from this Court as it may be

17 appropriate under California or federal law.

18             2.         Compliance With Other Applicable Laws: Nothing in this Standard Protective Order

19 waives or modifies the requirements that are applicable to particular types of information.

20             3.         Modification: Nothing in this Standard Protective Order abridges the right of any

21 person to seek its modification by the court in the future. Nothing in this Standard Protective Order

22 shall preclude any Party from applying to the court to modify this Standard Protective Order to

23 provide for additional safeguards to ensure the confidentiality of materials produced in this action

24 or otherwise modify this Standard Protective Order for good cause shown.

25             4.         Filing Protected Material: Without written permission from the Designating Party or

26 a court order secured after appropriate notice to all interested persons, a Party or Non-Party may not
27 file in the public record in this action any Protected Material. A Party or Non-Party that seeks to file

28 under seal any Protected Material must comply with Local Rule 141. Protected Material may only

     2655.000/1397878.2                               10             Case No. 1:18-CV-01464 AWI BAM
                                  STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 11 of 14


 1 be filed under seal pursuant to a court order authorizing the sealing of the specific Protected Material

 2 at issue. Pursuant to Local Rule 141, a sealing order will issue only upon a request establishing that

 3 the Protected Material at issue is privileged, protectable as a trade secret, or otherwise entitled to

 4 protection under the law. If a Receiving Party’s request to file Protected Material under seal pursuant

 5 to Local Rule 141(b) is denied by the court, then the Receiving Party may file the information in the

 6 public record pursuant to Local Rule 141(e) and/or (f), unless otherwise instructed by the court.

 7             5.         Additional Parties: In the event that additional Parties join or are joined in this

 8 Litigation, they shall not have access to Protected Materials until they have executed and, at the

 9 Request of any Party, filed with the court their agreement to be bound by this Standard Protective

10 Order or until the Court enters an Order extending the application of this Standard Protective Order

11 to the additional Parties.

12             6.         Disposition Of Materials At Conclusion Of Case: Even after final disposition of this

13 litigation, the confidentiality obligations imposed by this Order shall remain in effect until a Party

14 agrees otherwise in writing or a court order otherwise directs. Final disposition shall be deemed to

15 be the later of (1) dismissal of all claims and defenses in this action, with or without prejudice; and

16 (2) final judgment herein after the completion and exhaustion of all appeals, rehearings, remands,

17 trials, or reviews of this action, including the time limits for filing any motions or applications for

18 extension of time pursuant to applicable law. Within sixty (60) days after final disposition of this

19 action is concluded, each Receiving Party must return all Protected Material to the Producing Party

20 or destroy such Protected Material. As used in this paragraph, “all Protected Material” includes all

21 materials designated “Confidential” or “Highly Confidential-AEO”, and all abstracts, compilations,

22 copies, excerpts, extracts, summaries, and any other format reproducing or capturing any of the

23 Protected Material. Whether the Protected Material is returned or destroyed, the Receiving Party

24 must submit a written certification under oath to the Producing Party by the 60-day deadline that (1)

25 identifies (by category, where appropriate) all the Protected Material that was returned or destroyed

26 and (2) affirms that the Receiving Party has not retained any abstracts, compilations, copies,
27 excerpts, extracts, summaries, and any other format reproducing or capturing any of the Protected

28 Material. Notwithstanding this provision, Counsel for the Parties only are entitled to retain an

     2655.000/1397878.2                               11             Case No. 1:18-CV-01464 AWI BAM
                                  STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 12 of 14


 1 archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal

 2 memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work product,

 3 and consultant and expert work product, even if such materials contain Protected Material. Any such

 4 archival copies that contain or constitute Protected Material remain subject to this Standard

 5 Protective Order.

 6             7.         Retention Of Jurisdiction: The Court shall retain jurisdiction over all persons to be

 7 bound by the terms of this Standard Protective Order, during the pendency of this Litigation and for

 8 the time thereafter as is needed to carry out its terms.

 9 VIII. STIPULATION

10             Subject to the condition precedent of the Court entering this Standard Protective Order, the

11 Parties to this Stipulation and this Litigation shall be bound by this Standard Protective Order.

12

13    Dated: May 2, 2019                                             /s/ Michael D. Abraham
                                                                MICHAEL D. ABRAHAM
14                                                              Bartko, Zankel, Bunzel & Miller
                                                                Attorneys for
15
                                                                Defendant A. J. Boggs & Company
16
      Dated: May 2, 2019                                             /s/ Patrick Keegan
17                                                              PATRICK KEEGAN
                                                                Keegan & Baker
18                                                              Attorneys for
                                                                Plaintiff John Doe
19

20    Dated: May 2, 2019                                             /s/ Mona Amini
                                                                MONA AMINI
21                                                              Kazerouni Law Group, APC
                                                                Attorneys for
22                                                              Plaintiffs John Doe 1, John Doe 2, and
23                                                              John Doe 3.

24

25

26
27

28

     2655.000/1397878.2                               12             Case No. 1:18-CV-01464 AWI BAM
                                  STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 13 of 14


 1                                               EXHIBIT A

 2                                Acknowledgment and Agreement to Be Bound

 3             I, _____________________________ [print or type full name], of _________________

 4 ___________________________[print or type full current home address], declare under penalty of

 5 perjury that I have read the Standard Protective Order in its entirety and understand that the

 6 Protective Order was issued by the United States District Court for the Eastern District of California

 7 in the consolidated action pending in the United States District Court, Eastern District of California,

 8 Fresno Division, entitled John Doe, individually and on behalf of all others similarly situated, v.

 9 A.J. Boggs & Company, Case No. 1:18-CV-01464-AWI-BAM (“the Litigation”). I agree to comply

10 with and to be bound by all the terms of this Protective Order and I understand and acknowledge

11 that failure to so comply could expose me to sanctions and punishment in the nature of contempt. I

12 solemnly promise that I will not disclose in any manner any information or item that is subject to

13 this Protective Order to any person or entity except in strict compliance with the provisions of this

14 Order. I further agree to submit to the jurisdiction of the United States District Court for the Eastern

15 District of California for the purpose of enforcing the terms of this Stipulated Protective Order, even

16 if such enforcement proceedings occur after termination of this action.

17

18 DATED: ___________________

19                                         By (Signature):
                                           Print Name:
20                                         Title:
                                           Entity:
21
                                           City and State where sworn and signed: __________
22                                         ___________________________________________

23

24

25

26
27

28

     2655.000/1397878.2                          13             Case No. 1:18-CV-01464 AWI BAM
                             STIPULATION AND STANDARD PROTECTIVE ORDER
     Case 1:18-cv-01464-AWI-BAM Document 37 Filed 05/07/19 Page 14 of 14


 1                                                 ORDER

 2             The Court adopts the stipulated protective order submitted by the parties. The parties are

 3 advised that pursuant to the Local Rules of the United States District Court, Eastern District of

 4 California, any documents subject to this protective order to be filed under seal must be

 5 accompanied by a written request which complies with Local Rule 141 prior to sealing. The party

 6 making a request to file documents under seal shall be required to show good cause for documents

 7 attached to a non-dispositive motion or compelling reasons for documents attached to a dispositive

 8 motion. Pintos v. Pacific Creditors Ass’n, 605 F.3d 665, 677-78 (9th Cir. 2009). Within five (5)

 9 days of any approved document filed under seal, the party shall file a redacted copy of the sealed

10 document. The redactions shall be narrowly tailored to protect only the information that is

11 confidential or was deemed confidential. Also, the parties shall consider resolving any dispute

12 arising under this protective order according to the Court’s informal discovery dispute procedure.

13

14 IT IS SO ORDERED.

15
          Dated:          May 7, 2019                         /s/ Barbara   A. McAuliffe           _
16                                                      UNITED STATES MAGISTRATE JUDGE
17

18

19

20

21

22

23

24

25

26
27

28

     2655.000/1397878.2                              14             Case No. 1:18-CV-01464 AWI BAM
                                 STIPULATION AND STANDARD PROTECTIVE ORDER
